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UNITED STATES OF AMBRI ca 15 PM #36) 1 f « 0 ? 8 7 | 7

SHI SHAN PIAO, a. vk a. “Mr Pak, i} i, andisTRi Ct oe Aypdisteate: S CASE NO.

66 ° RAL BIST. OF CALI
JIA RUNZE, a.k.a. RogeNTR VERSIOE

 

 

 

 

 

 

 

 

BY sect
Complaint for violation of Tit \s United States Code, Sections 1349 and 1028A
NAME OF MAGISTRATE JUDGE \ LOCATION
UNITED STATES oo, oo
Honorable Sheri Pym MAGISTRATE JUDGE _ | Riverside, California
DATE OF OFFENSE PLACE OF OFFENSE ADDRESS OF ACCUSED (IF KNOWN)
2006 through the present Los Angeles County

 

 

 

COMPLAINANT’S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

Beginning in or before December 2006, and continuing through the present, in Los Angeles County,
within the Central District of California, and elsewhere, defendants SHI SHAN PIAO and JIA RUNZE, and
others, conspired to commit bank fraud, in violation of Title 18, United States Code, Section 1344. The object
of the conspiracy was carried out, and to be carried out, in substance, as follows: Defendants PIAO and
RUNZE would obtain the identifying information of real persons and apply for and build up credit in their
names. Defendants PIAO and RUNZE would then make purchases and obtain cash advances impersonating
those identities and then abandoning them. Federally-insured financial institutions defrauded as a result of this
conspiracy include Chase Bank, NAVY Federal Credit Union, First Premier Bank, Citibank, Capital One, and
U.S. Bank.

Beginning in or before December 2006, and continuing through the present, in Los Angeles County,
within the Central District of California, and elsewhere, defendants SHI SHAN PIAO and JIA RUNZE
knowingly transferred, possessed, and used, without lawful authority, a means of identification of another
person during and in relation to a felony violation of Title 18, United States Code, Section 1349, Conspiracy to
Commit Bank Fraud, as charged in Count One of this complaint.

 

BASIS OF COMPLAINANT’S CHARGE AGAINST THE ACCUSED:

(See attached affidavit which is incorporated as part of this Complaint)

 

MATERIAL WITNESSES IN RELATION TO THIS CHARGE: N/A

 

OP

B . d 1 Id | h h SIGNATURE OF COMPLAINANT ~ -s
that t C
eing duly sworn, I declare that the Samuel H. Newlin-Haus 2 LIL. YE LZ

 

 

foregoing is true and correct to the best

of my knowledge. OFFICIAL TITLE
Special Agent, Federal Bureau of Investigation

 

 

Sworn to before me and subscribed in my presence,

 

 

SIGNATURE OF MAGISTRATE JUDGE” DATE
AL Yue June 15, 2017

 

 

 

(© See Federal Rules of Criminal Procedure 3 and 54

AUSA Andrew Brown, 11" floor, x0102 AB WARRANT Detention Requested for Both Defendants
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AFFIDAVIT

 

I, Samuel Hans Joseph Newlin-Haus, being duly sworn and under

oath, hereby depose and say as follows:
INTRODUCTION

1. I am a Special Agent (“SA”) of the Federal Bureau of
Investigation (“FBI”) assigned to the Riverside Resident Agency of
the Los Angeles Division. I have been employed with the FBI as an SA
Since 2016. I have had formal training at the FBI Academy relating
to the investigation of financial crimes. I have assisted in and/or
personally conducted investigations involving financial institution
fraud and identity theft. I have received information and further
training from members of the Riverside FBI White Collar Crime Squad
regarding financial institution fraud and identity theft.

PURPOSE OF AFFIDAVIT: ARRESTS AND SEARCH WARRANTS

2. This affidavit is made in support of a criminal complaint
and arrest warrants against JIA RUNZE, a.k.a. “Roger” (“RUNZE”), and
SHI SHAN PIAO, a.k.a. Mr. Park (“PIAO”), for conspiracy to commit

bank fraud and aggravated identity theft, in violation of Title 18,
United States Code, Sections 1349 and 1028A.

3. This affidavit is also made in support of search warrants
for JIA RUNZE and SHI SHAN PIAO, and their vehicles and residences.
(The search warrant for SHI SHAN PIAO’s residence alone will be
sought with this same affidavit in the District of Nevada as it is
located there).

4, The information set forth in this affidavit is based upon
my participation in the investigation, encompassing my personal
knowledge, observations and experience, as well as information
obtained through my review of evidence, investigative reports,

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interviews, debriefings with witnesses, and information provided by
other participating law enforcement agents. As this affidavit is
being submitted for the limited purpose of securing the requested
warrants, I have not included each and every fact known to me
concerning this investigation. I have set forth only the facts that
I believe are necessary to establish probable cause for the requested
warrants.

PREMISES TO BE SEARCHED

 

5. The premises to be searched (collectively, the * SUBJECT
PREMISES”) are described as follows:
In the Central District of California:

a. 523-2 NORTH MOORE AVENUE, MONTEREY PARK, CA (“RUNZE’S
RESIDENCE”) is described as follows: the east unit of a two-story,
tan stucco, duplex building with a reddish brown tile roof and
attached two-door garage. The numbers “523-2” are located above the
east-facing front door on the east side of the building facing NORTH
MOORE AVENUE. The premises to be searched includes both the
residence and the garage or garage space behind the garage door
farthest to the east. The premises to be searched includes vehicles
owned or controlled by JIA RUNZE (including A white, 2017 Hyundai
Genesis with dealer paper plates, Registered to JIA RUNZE, 108 Elm
Street, Alhambra, CA (“RUNZE’S WHITE GENESIS”) and a blue 2016
Hyundai Genesis, California license number 7RWM209, registered to JIA
RUNZE, 108 Elm Street, Alhambra, CA (“RUNZE’S BLUE GENESIS”) that are
found on or adjacent to RUNZE’S RESIDENCE.

b. A BLACK HYUNDAI, SONATA, California license number
7JUXNO80, registered to Eun S. Lee, 3333 W. 2nd Street, Apartment 51
216, Los Angeles, CA 90004 (*“PIAO’S HYUNDAI”).

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Cc. The person of SHI SHAN PIAO, a.k.a. Mr. Park (*“PIAO"”),
an Asian male, born on October 4, 1970, Black hair, Brown eyes,
height 5'7”, weight approximately 160 pounds, matching the photograph
of California Department of Motor Vehicles identification card number
B9010963.

d. The person of JIA RUNZE, a.k.a. Roger (“RUNZE”), an
Asian male, born on December 26, 1988, Black hair, Brown eyes, height
5'8", weight approximately 180 pounds, matching the photograph of
California Department of Motor Vehicles identification card number
D9830318.

In the District of Nevada:

e. 4987 INDIAN RIVER DRIVE, BUILDING 312, APARTMENT 132,
LAS VEGAS, NEVADA (“PIAO’S RESIDENCE”). PIAO’S RESIDENCE is further
described as a condominium within a two-story, red stucco building
with a red tile roof bearing a plaque with “Building 312” with
numbers “129-132” below. BUILDING 312 is located on the south side
of INDIAN RIVER DRIVE between Sandy River Drive and Alexis Drive.
PIAO’S RESIDENCE is located on the second floor on the east side of
BUILDING 312. The brown numerals “132” are located on the wall to
the left of the door to PIAO’S RESIDENCE.

INVESTIGATION BACKGROUND

6. RUNZE and PIAO are participants in an ongoing criminal
organization (PIAO Organization), which specializes in conducting
credit/loan fraud schemes and creating fraudulent identities for
individuals.

7. PIAO creates fraud “franchises” in which he coaches
participants how to conduct credit fraud activities using the
identities he sells to the participants (franchisees).

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8. RUNZE is one of PIAO’s franchisees.

9. PIAO supplies the following types of identities for his
fraud schemes: |

a. Identities with “586” prefix social security numbers.
“586” social security numbers are issued in Guam to temporary
workers. When the workers return to their native country, the social
security number and corresponding identity can be used for credit and
money laundering schemes;

b. Foreign nationals with U.S. visas and work permits who
have, or are planning to return to their native country. These
identities also have valid social security numbers corresponding to
individuals who are no longer in the United States.

om “Customers” who volunteer their identities to be used
in credit building and bust-out schemes.

10. PIAO’S identities are used for at least three general
illegal purposes: (1) fraudulent identities for individuals, (2)
credit/loan bust-out schemes and (3) the lease and theft of vehicles.

Fraudulent Identities for Individuals

11. The identities PIAO provides have valid social security
numbers and no one to report the misuse of the identity allowing PIAO
to prepare a package of fraudulent and fraudulently issued genuine
identity documents for the customer. The identity package consists
of the following documents:

a. A genuine 586 or other misappropriated social security
card;

b. A fraudulent foreign passport bearing the social
security card identity but with the photograph and description of the

customer;

 
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Cc. Fraudulent foreign birth certificates, marriage and
divorce documents with English translations;

d. A fraudulently issued genuine driver’s license issued
to the social security card identity with the customer’s photograph
and description.

Credit/Loan Bust-Out Scheme

 

12. These identities’ credit scores are built and converted to
cash in the following manner:

a. A drop address is obtained;

b. The credit report for the identity is updated to the
drop address, usually by opening a bank account;

Cc. Credit cards are applied for at the bank where the
account is held;

d. The credit cards are used and paid developing a credit
history and qualifying the identity for larger credit limit cards;

e. Once the desired credit limit is attained on the
cards, the credit limits are drained by making charges to fake
merchant accounts, purchasing merchandise or gift cards and/or
obtaining cash advances. The card is then discarded, or

£. The balances are paid using other victims’ stolen bank
account information, known in the fraud industry as a “double”;

g. The cards can then be re-charged to the credit limit
before the account takeover is discovered by the victim bank.

Vehicle Lease/Theft Scheme
13. After the subjects develop the drop address and credit
history for the identities, the identities are used to lease new

vehicles from co-conspirators working at vehicle dealerships;

 
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a. The subjects use the vehicles and pay the leases for
several months in order to avoid compromising the dealership co-
conspirator;

b. The subjects sell the vehicle to unknown entities for
parts and/or export from the United States;

c. The lease payments cease.

14. The investigation involves a confidential human source
(CHS) who posed as a prospective franchisee of the PIAO Organization
in order to gather evidence concerning the scope of the PIAO
Organization. CHS has provided physical evidence and made numerous
consensual recordings of the co-conspirators while discussing their
fraud operations in English and Korean.

15. CHS’s descriptions of meetings have been consistent with
translations of the recorded meetings. CHS has also provided
physical evidence in the form of credit cards and credit card
applications corroborating CHS’s reporting.

16. CHS has been paid for services and expenses and has
received sentencing consideration on an unrelated matter.

SUMMARY OF EVIDENCE AGAINST RUNZE

 

17. On or about October 22, 2015, CHS provided FBI agents with
a copy of a social security card issued to C.Y.J. (Note: Only the
initials of this individual, who is believed to be a victim of
identity theft, are provided.) CHS indicated that the social
security card copy was provided by JIA RUNZE, a.k.a. “ROGER” (RUNZE),
and that RUNZE planned to use the C.Y.J. identity to obtain
fraudulently issued credit cards using an address provided by CHS

(CHS Drop Address).

 
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18. On or about November 19, 2015, FBI agents observed CHS meet
with RUNZE to provide mail addressed to C.Y.J. that RUNZE caused to
be mailed to the CHS Drop Address. FBI agents audio/video recorded
the meeting. I reviewed a transcript of the recording which
indicated the following:

a. RUNZE acknowledged opening a U.S. Bank account using
the C.V.J. identity.

b. RUNZE instructed CHS to use the U.S. Bank debit card
associated with the account for expenses and RUNZE would replenish
the account as needed to build the credit score for the C.Y.J.
identity to obtain a credit card.

19. I reviewed U.S. Bank correspondence mailed to C.Y¥.J. at the
CHS drop address which indicated U.S. Bank had opened a bank account
in the name of C.Y.J.

20. On or about March 1, 2016, FBI agents observed CHS meet
with RUNZE to provide mail received at the CHS Drop Address,
addressed to C.Y.J. from: NAVY League, First Premier Bank, Citibank,
Capital One, Credit One and Surge MasterCard. FBI agents audio/video
recorded the meeting. I reviewed a transcript of the recording which
indicated the following:

a. RUNZE explained that membership with NAVY League
allowed him to open lines of credit with the NAVY Federal Credit
Union (NAVY FCU).

b. RUNZE indicated the documents provided by CHS allowed
him to eventually apply for and obtain two Chase credit cards valued

at $12,000 each and one Citibank credit card valued at $10,000.

 
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21. On or about March 17, 2016, FBI agents observed CHS meet
with RUNZE. FBI agents audio/video recorded the meeting. I reviewed
a transcript of the recording which indicated the following:

a. RUNZE provided CHS $2,000 in cash and informed CHS the
credit cards he obtained using the C.Y.J identity would provide
approximately $59,000.

b. RUNZE explained doing a “double” on a credit card
account as follows: (1) Make purchase charges on the account up to
its credit limit, (2) Pay the balance using another individual’s bank
account information, (3) Re-charge the account to its limit a second
time.

c. RUNZE indicated that his partner’s name is SHI SHAN
PIAO (PIAO).

22. I reviewed copies of mail addressed to C.Y.J. provided by
CHS discussed during the March 17, 2016, meeting that RUNZE caused to
be mailed to the CHS drop address. The documents included credit
cards issued to C.Y.J. from Citibank and Capital One, and a debit
card issued to C.Y.J. from NAVY FCU.

23. FBI agents conducted physical surveillance during the March
17, 2016, CHS meeting with RUNZE. Agents conducting the surveillance
observed RUNZE driving a 2016 Hyundai Veloster, CA license #7RCD265.

24. I reviewed California Department of Motor Vehicle (CADMV)
registration records which indicated that the vehicle was registered
to Q.H., 8829 Duarte Rd., San Gabriel, CA (San Gabriel Address).

25. I reviewed loss statements from Citibank and Capital One
concerning Q.H. and the San Gabriel Address which revealed the Q.H.
identity was a “586” identity and there were two additional
identities using the San Gabriel Address for credit card accounts.

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26. Based on my training and experience, I believe that the
PIAO Organization used the identities associated with the San Gabriel
Address to obtain fraudulently issued credit cards.

27. On or about April 6, 2016, CHS identified a California
Department of Motor Vehicles (DMV) photograph of RUNZE with no
identifying information as the individual CHS knows as “Roger.” I
reviewed California DMV information which indicated RUNZE’s home
address was 108 Elm Street, Alhambra, CA (his parents’ address).

28. On or about April 28, 2016, CHS met with RUNZE to provide
mail received at the CHS Drop Address addressed to C.Y¥.J., including
a NAVY FCU credit card and a Chase credit card. FBI agents
audio/video recorded the meeting. I reviewed a transcript of the
recording which revealed the following:

a. RUNZE told CHS he used the stolen identities to lease
new vehicles for his personal use and then sells them for parts.
RUNZE explained the tracking device used by dealerships on leased
vehicles is removed so they cannot be tracked. |

b. RUNZE said he and his partner (PIAO) moved their
office from Monterey Park to a house near New Avenue.

29. FBI agents conducted physical surveillance following the
April 28, 2016, CHS meeting with RUNZE and observed RUNZE drive to
1408 New Avenue, Unit C, Rosemead, CA (Rosemead Address).

30. I reviewed loss statements from Chase, Citibank, Capital
One, and NAVY FCU which revealed the Rosemead Address was used for
credit card applications and accounts for six different “586”

identities.

 
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31. One of the identities associated with the Rosemead Address
was Q.H. (previously listed as the name associated with the vehicle
registration of a Hyundai driven by RUNZE).

32. Records from Citibank indicated several cash advances using
a credit card issued to the Q.H. identity, including: $260 on July 6,
2016; $500 on July 8, 2016; $260 on July 9, 2016; $500 on July 12,
2016; and $180 on July 13, 2016 (referred to collectively as “the
cash advances”).

33. I reviewed Automated Teller Machine (ATM) video
surveillance from Citibank. The Asian male obtaining the cash
advances in the video matched JIA RUNZE.

34. Based on RUNZE’s statements and my training and experience,
I believe that the PIAO Organization used the identities associated
with the Rosemead Address to obtain fraudulently issued credit cards
and RUNZE impersonated Q.H. in order to obtain cash advances.

35. On or about June 6, 2016, FBI agents observed CHS meet with
RUNZE to provide mail addressed to C.Y.J. received at the CHS Drop
Address. FBI agents audio/video recorded the meeting. RUNZE
provided CHS with $5,000 cash and a $7,000 Citibank cashier’s check
issued with the listed remitter as “RJ America, Inc.” RUNZE took the
NAVY FCU debit card from CHS.

36. A business records check concerning “RJ America, Inc.”
showed RUNZE as the listed CEO and the business address was RUNZE’s
residence located at 108 Elm Street, Alhambra, CA.

37. A review of victim bank electronic records and interview
reports revealed credit card account losses associated with the

Cc.v.Jd. identity from Capital One, Chase Bank and Citibank.

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38. It appears that RUNZE has been involved in identity theft
Since November 2012 or before. He bragged to the CHS in 2015 about
his continuing involvement in leasing cars in false identities and
then selling the cars for parts, but did not say for how long he had
been doing that. His criminal record, however, shows he was arrested
in November 2012 for a number of offenses, resulting in a later
felony conviction for false impersonation.

RUNZE WORKS AT A BROTHEL WHICH MAY SUPPORT IDENTITY THEFT

39. On April 1, 2017 CHS contacted RUNZE on RUNZE’s cellular
telephone. I reviewed the audio recording in which CHS asked RUNZE
about the fraudulent passport he previously promised to obtain.
RUNZE told CHS he tried three times to ship the passport but was
unable to get the passport from China because he did not have any
friends there anymore. RUNZE claimed he no longer worked in the
fraud business. RUNZE told CHS he had new work and said he helps
‘working girls” (prostitutes) by opening up “the house” (brothel),
cooking for them, and picking up “the stuff”. RUNZE asked CHS if
he/she knew the house RUNZE referred to and CHS responded yes. RUNZE
told CHS he earns $4,000 per month. As described in more detail
below, women who come to the U.S. to work as prostitutes often give
up their social security numbers for use in identity theft when they
return to their native countries.

40. On May 10, 2017, FBI agents conducted surveillance of
RUNZE’S RESIDENCE and observed two young Asian females knocking on
the door of RUNZE’sS RESIDENCE.

41. GPS tracking of RUNZE’s cellular telephone provided

pursuant to a federal search warrant during May and June revealed

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RUNZE has taken two trips to the Washington D.C. area for a few days
each trip.

42. SA Bud Spencer, who has over 18 years with the FBI, and has
investigated Asian criminal enterprises indicated that RUNZE’s
statements and actions are consistent with identity fraud and
involvement in human trafficking/prostitution operations for the
following reasons:

a. Asian human trafficking in support of prostitution
operations are often accomplished by obtaining fraudulently obtained
business, tourist or student visas in the United States for the
prostitutes which may involve the issuance of a social security
number.

b. Since the prostitutes are foreign nationals with valid
social security numbers, their identities are attractive to identity
theft/credit fraud operations since the prostitute will likely only
be in the United States for a limited time and their identities can
be used over time to build and bust-out credit.

C. Once in the United States, the prostitutes are often
rotated to different brothels around the United States necessitating
co-conspirators escorting them on interstate travel due to the
prostitutes’ inability to speak English and unfamiliarity with the
United States.

JIA RUNZE Lives at RUNZE’S RESIDENCE

43. On May 16, 2017, I conducted physical surveillance of
RUNZE'S RESIDENCE (523-2 NORTH MOORE AVENUE, MONTEREY PARK, CA) and
observed the following:

a. An Asian male matching RUNZE’s description exited
RUNZE’S RESIDENCE;

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b. The Asian male was driving RUNZE’S BLUE GENESIS;
Cc. RUNZE’S WHITE GENESIS was parked in the driveway area
of RUNZE’S RESIDENCE.

SUMMARY OF EVIDENCE AGAINST PIAO

 

44. On June 14, 2016, FBI agents observed CHS meet someone
later identified by photograph as PIAO. FBI agents audio/video
recorded the meeting. I reviewed an FBI draft summary translation
(Korean to English) of that meeting, which indicated the following:

a. PTAO told CHS he started ROGER (RUNZE) in the credit
fraud business and sold ROGER (RUNZE) the “586” identities used in
the fraud scheme.

b, PIAO explained that he buys the identities from China
that belonged to people who were temporary workers in Guam and
returned to China. PIAO builds the credit for the identity which
eventually generates $80,000 to $120,000 in credit proceeds for each
identity.

Cc. PIAO indicated that he has opened fictitious merchant
accounts in order to convert the credit limits to cash.

d. PIAO told CHS it is important to buy a second hand
laptop computer, use it for only one case, and then dump it
afterwards.

ea. PIAO indicated he has drop addresses in many cities
and has been conducting credit card fraud for ten (10) years with no
problems from the police.

45. On July 7, 2016, FBI agents observed CHS meet PIAO. FBI
agents audio/video recorded the meeting. I reviewed an FBI draft
summary translation (Korean to English) of that meeting, which
indicated the following:

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a. PIAO ordered social security numbers from a contact in
China who sent an image of the social security number through ‘“Kakao
Talk”, a Korean instant messaging service.

b. The China contact mailed the physical social security
cards after receiving payment of $5,000 per card. |

Cc. PIAO received packages containing the cards within 1-2
weeks from the purchase date. The cards are hidden in clothing to
avoid customs.

d. PIAO removes the “valid for work only” restriction
from the cards.

e. PIAO indicated that the benefit of using authentic
identities is that the identity can be used to obtain genuine
identification documents.

£. PIAO stated that he had a genuine Chicago driver's
license and was able to bust out $80,000 in one day using credit
cards issued to the identity.

46. On July 25, 2016, FBI agents observed CHS purchase a social
security card issued to Y.Z. from PIAO. FBI agents audio/video
recorded the meeting. I reviewed an FBI draft summary translation
(Korean to English) of that meeting, which indicated the following:

| a. PIAO showed CHS two social security cards issued to
Y.F. and Y.Z. CHS paid PIAO $5,000 for the Y.Z. identity social
security card, $1,000 for a fraudulent passport to match the
identity, and provided two passport photographs to PIAO for the
fraudulent passport.

b. PIAO planned to purchase four additional social

security cards for the credit/loan bust-out scheme. PIAO suggested

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the CHS open a business and create a merchant account in order to
convert the credit limits to cash.

c. PIAO told CHS he has lived off the credit/loan bust-
out scheme and wanted to continue it with the CHS for a long time.

47. On July 28, 2016, FBI agents observed CHS meet with PIAO.
FBI agents audio/video recorded the meeting. I reviewed an FBI draft
summary translation (Korean to English) of that meeting, which
indicated the following:

a. PIAO told CHS if they circulate their scheme for 4-6
months, they will have 3-4 credit cards with a combined credit of
$200,000 to $300,000 per identity.

b. PIAO told CHS he planned to use the Y.Z. identity to
create merchant accounts.

Cc. PIAO told CHS the scheme can produce $1 million
annually.

48. On or about September 21, 2016, PIAO provided CHS his
personal Chinese passport as collateral. PIAO’s passport identified
him as follows: SHISHAN PIAO, Date of Birth (DOB): October 4, 1970,
Chinese passport number Gi9613593.

49. I examined the DMV photograph associated with SHI SHAN
PIAO, Date of Birth: October 4, 1970 and the photograph matched the
appearance of the individual meeting with the CHS.

50. On or about October 26, 2016, PIAO instructed CHS
telephonically to drop off an electronic copy of the Y.Z. social
security card to a house in Los Angeles so PIAO could digitally
remove the work only restriction. CHS traveled to the location and

reported the following:

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a. The front room of the house was being used as an
office.

b. PIAO was working with two male individuals. One of
the males identified himself as Young Hoon (phonetic)

Cc. CHS observed laptop computers inside the location with
Navy Federal Credit Union credit card applications on the screens.

51. On or about November 18, 2016, PIAO contacted CHS
telephonically and indicated that CHS’s passport was ready. CHS met
with PIAO who provided CHS a fraudulent Chinese passport issued to
Y¥.Z. bearing CHS’s photograph. PIAO indicated he was using 4444 West
Desert Inn Road, Las Vegas, Nevada, as another drop address for
credit fraud activities.

52. On or about January 6, 2017, FBI agents observed CHS meet
PIAO to discuss obtaining fraudulently issued genuine driver's
licenses. FBI agents audio/video recorded the meeting. I reviewed
an FBI draft summary translation (Korean to English) of that meeting,
which indicated the following:

a. PIAO has a DMV employee contact and is already in the
process of obtaining a fraudulently issued Nevada driver’s license
using the Y.F. identity. PIAO obtained a temporary Nevada driver’s
license using the Y.F. identity on December 16, 2016.

b. PIAO needed to return to Las Vegas, Nevada, to
complete the application process for his Nevada driver’s license and
offered to arrange for CHS to obtain a fraudulently issued driver’s
license using the Y.Z. identity. PIAO told CHS the DMV employee
charged $5,600 to obtain the license.

53. On or about January 17, 2017, I and other FBI Agents
observed CHS meet with PIAO and conduct a controlled purchase of a

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fraudulently issued genuine Nevada driver’s license at the Nevada
Department of Motor Vehicles in Henderson, NV, (Nevada DMV). FBI
agents audio/video recorded the meeting. I reviewed an FBI draft
summary translation (Korean to English) of that meeting, which
indicated the following:

a. PIAO provided fraudulent documents issued in the name
of Y.Z. to support the driver’s license application, including: a
fraudulent Chinese birth certificate with English translation, anda
fraudulent document in Chinese bearing CHS'’s photograph which PIAO
told CHS was a divorce certificate.

b. CHS gave $5,600 to an Asian female who indicated she
was a Nevada DMV employee.

Cc. CHS received a temporary Nevada driver’s license
issued to the Y¥.Z. identity.

54. On or about February 2, 2017 FBI agents observed CHS meet
with PIAO to discuss the status of the Nevada driver’s license. FBI
agents audio/video recorded the meeting. CHS reported the following:

a. PIAO indicated that the Nevada DMV issued him a
permanent driver’s license in the name of Y.F.

b. PIAO gave CHS a Nevada DMV driver authorization card
issued to Y.2Z bearing CHS’s photograph.

Cc. PIAO showed CHS a credit report for the Y.Z. identity
and a fake utility bill addressed to Y.Z. in Las Vegas, Nevada.

55. On or about March 13, 2017, CHS met with PIAO and provided
CHS a fraudulently issued genuine Nevada driver’s license issued to
Y.Z. bearing CHS's photograph.

56. I reviewed Nevada DMV records, which confirmed driver’s
licenses were issued to Y.F. (the identity used by PIAO, and which

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bore PIAO’s photograph) and Y.Z. (the identity used by CHS, and which
bore CHS’s photograph).
PIAO Uses PIAO’S HYUNDAI and Lives at PIAO’S RESIDENCE

57. On or about March 13, 2017, CHS met with PIAO. FBI agents
audio/video recorded the meeting. I reviewed an FBI draft summary
translation (Korean to English) of that meeting, which indicated PIAO
informed CHS that he planned to move to Las Vegas, NV, to continue
conducting his credit fraud business.

58. SA Jacob Hale, Special Agent, Las Vegas Division, Federal
Bureau of Investigation, used the court ordered GPS tracking
information provided by PIAO’s cellular telephone provider to track
PIAO’s cellular telephone. On May 18, 2017, SA Hale indicated that
PIAO’s cellular telephone was located within the Bella Vita housing
complex in Las Vegas, Nevada 89103. Through the use of a cell-site
Simulator, SA Hale narrowed its location to BUILDING 312, UNIT 132
(PIAO’S RESIDENCE).

59. SA Tyler Stevens, Special Agent, Las Vegas Division,
Federal Bureau of Investigation, conducted surveillance of PIAO’s
RESIDENCE and told me the following:

a. On June 2, 2017, Stevens observed an Asian male,
approximately 5’7”, 140 pounds, wearing a white, short-sleeved
collared shirt enter a BLACK HYUNDAI SEDAN with California license
plate 7UXNO80 (PIAO’S HYUNDAI) and leave the area.

b. On June 5, 2017, Stevens observed an Asian male
matching PIAO’s description exiting 4987 INDIAN RIVER DRIVE, BUILDING

312, UNIT 132, LAS VEGAS, NEVADA (PIAO’S RESIDENCE).

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PIAO CONTINUES TO SELL STOLEN IDENTITIES

 

60. On or about March 13, 2017, CHS met with PIAO. FBI agents
audio/video recorded the meeting. I reviewed an FBI draft summary
translation (Korean to English) of that meeting, which indicated the
following:

a. PIAO was working with Young Hoon (phonetic) in Las
Vegas, the individual whom CHS met in Los Angeles while working with
PIAO;

b. CHS would need to travel to Las Vegas, NV in order to
open bank accounts for the identities to start building credit for
the identities.

Cc. Park had four or five identities ready for purchase.

61. On or about June 9, 2017, CHS contacted SA Bud Spencer. SA
Spencer told me the following:

a. CHS contacted PIAO and told him that CHS has obtained
money to purchase more identities.

b. PIAO agreed to come to Los Angeles to meet with CHS on
June 20, 2017.

62. GPS records showed that PIAO’s cellular telephone crossed
from Nevada to California around 4:30pm on June 13, 2017. FBI agents
told me they conducted surveillance on PIAO’S RESIDENCE around then
and did not see PIAO’S HYUNDAI anywhere near it (previously, they had
seen PIAO’S HYUNDAI repeatedly in the same space adjacent to PIAO’S
RESIDENCE). GPS records show that on June 14, 2017, PIAO’s cellular
telephone was traveling around Los Angeles. Thus it appears that

PIAO has driven back to the Central District in PIAO’S HYUNDAI.

Training and Experience Regarding Fraud:

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63. SA Bud Spencer, who has over 18 years in the FBI and has
investigated fraud, told me the following from his training and
experience: Individuals involved in identity theft schemes like this
one must keep evidence of their schemes, such contact information for
their co-conspirators, lists of victim information and accounts used
in the scheme, simply to keep the scheme going. Most of this
evidence is now stored on digital devices such as computers and

smartphones. Identity thieves who use fraudulent credit cards often

use them to purchase items with a high resale value, such as

electronics or designer clothing or bags, which they keep in new
condition to sell on for cash, or to return for a refund, which may
take the form of cash or gift cards. Typically, they maintain all
this evidence where is close at hand and safe, such as in their
residences, automobiles, and, especially with smartphones, on their
person. For larger or more sophisticated frauds, participants often
attempt to distance themselves from some of the incriminating
evidence by renting public storage units or safety deposit boxes
where they often keep the items they will not need immediate access
to.
Information for Detention Purposes
PIAO Is In the U.S. Illegally

64. On April 3, 2017 I contacted Immigration and Customs
Enforcement Special Agent Brittney Rutledge and provided PIAO’s and
RUNZE’s information. SA Rutledge informed me PIAO filed for a visa
extension on October 31, 1997 that was valid for six (6) months. SA
Rutledge stated PIAO is out of status as an overstay and subject to
administrative arrest. SA Rutledge further informed me that ICE
would place a detainer on PIAO after he was arrested.

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RUNZE Faces Deportation After Conviction

65. SA Rutledge further informed me that RUNZE is a green card
holder since 2005 and has no pending applications at this time. She
said that RUNZE would be placed in removal proceedings if he were
convicted of an aggravated felony under immigration law (8 USC
Section 1227(a) (2) (A) (iii)). Fraud offenses for which the loss
exceeds $10,000. constitute “aggravated felonies.” 8 USC
§ 1101 (a) (43) (M) (i).

PIAO’s Organization Wires Money Overseas

66. According to bank records, 816 South Stoneman Avenue,
Apartment H, Alhambra, CA 91801, one of the drop addresses associated
with the PIAO Organization, was used on wire transfer requests to
China. For example, between October of 2016 and December of 2016,
J.C. originated 11 money remittances totaling $21,000 to Q.W. in
Nanchang City, China.

RUNZE Can Obtain Genuine Driver’s Licenses Fraudulently

67. On or about July 7, 2016, RUNZE told CHS he planned to go
to Seattle, Washington to obtain a fraudulently issued genuine
driver's license through a contact associated with the Department of
Motor Vehicles (DMV).

SCOPE OF THE PIAO ORGANIZATION

68. To date, the investigation has identified (20) suspected
drop addresses, (4) fraudulent merchant accounts and (58) suspected
stolen identities being used by the PIAO Organization in (6) states.

69. Victim creditors have identified approximately $900,000 in
losses associated with the fraudulent merchant accounts and stolen
identities identified to date. This is just the loss documented so
far, however, and appears to vastly understate the true losses.

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70. Review of FBI investigative reports from a previous
investigation revealed that PIAO, using the name San-e, was
soliciting customers to purchase fraudulent identity documents in
2012.

71. Based on PIAO’s statements of being in the business for 10
years and generating an annual income from the credit/loan bust out
scheme of $1 million, additional estimated loss is $10,000,000.

TRAINING AND EXPERTENCE ON DIGITAL DEVICES

72. As used below, the term "digital device" includes any
electronic system or device capable of storing and/or processing data
in digital form, including: central processing units; laptop or
notebook computers; personal digital assistants; wireless
communication devices such as telephone paging devices, beepers, and
mobile telephones; peripheral input/output devices such as keyboards,
printers, scanners, plotters, monitors, and drives intended for
removable media; related communications devices such as modems,
cables, and connections; storage media such as hard disk drives,
floppy disks, compact disks, magnetic tapes used to store digital
data (excluding analog tapes such as VHS), and memory chips; and
security devices. Based on my knowledge, training, and experience,
as well as information related to me by agents and others involved in
the forensic examination of digital devices, I know that data in
digital form can be stored on a variety of digital devices and that
during the search of the premises it is not always possible to search
digital devices for digital data for a number of reasons, including
the following:

a. Searching digital devices can be a highly technical
process that requires specific expertise and specialized equipment.

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There are so many types of digital devices and software in use today
that it is impossible to bring to the search site all of the
necessary technical manuals and specialized equipment necessary to
conduct a thorough search. In addition, it may also be necessary to
consult with specially trained personnel who have specific expertise
in the type of digital device, software application or operating
system that is being searched.

b. Digital data is particularly vulnerable to inadvertent
or intentional modification or destruction. Searching digital
devices can require the use of precise, scientific procedures that
are designed to maintain the integrity of digital data and to recover
"hidden", erased, compressed, encrypted or password-protected data.
As a result, a controlled environment, such as a law enforcement
laboratory or similar facility, is essential to conducting a complete
and accurate analysis of data stored on digital devices.

Cc. The volume of data stored on many digital devices will
typically be so large that it will be highly impractical to search
for data during the execution of the physical search of the premises.
A single megabyte of storage space is the equivalent of 500 double-
spaced pages of text. A single gigabyte of storage space, or 1,000
megabytes, is the equivalent of 500,000 double-spaced pages of text.
Storage devices capable of storing 500 gigabytes (GB) of data are now
commonplace in desktop computers. Consequently, each non-networked,
desktop computer found during a search can easily contain the
equivalent of 240 million pages of data, that, if printed out, would
completely fill three 35' x 35' x 10' rooms to the ceiling. Further,
a 500 GB drive could contain as many as approximately 450 full run
movies or 450,000 songs.

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d. Electronic files or remnants of such files can be
recovered months or even years after they have been downloaded onto a
hard drive, deleted or viewed via the Internet. Electronic files
saved to a hard drive can be stored for years with little or no cost.
Even when such files have been deleted, they can be recovered months
or years later using readily-available forensics tools. Normally,
when a person deletes a file on a computer, the data contained in the
file does not actually disappear; rather, that data remains on the
hard drive until it is overwritten by new data. Therefore, deleted
files, or remnants of deleted files, may reside in free space or
slack space, i.e., space on the hard drive that is not allocated to
an active file or that is unused after a file has been allocated to a
set block of storage space for long periods of time before they are
overwritten. In addition, a computer's operating system may also
keep a record of deleted data in a swap or recovery file. Similarly,
files that have been viewed via the Internet are automatically
downloaded into a temporary Internet directory or cache. The browser
typically maintains a fixed amount of hard drive space devoted to
these files, and the files are only overwritten as they are replaced
with more recently viewed Internet pages. Thus, the ability to
retrieve residue of an electronic file from a hard drive depends less
on when the file was downloaded or viewed than on a particular user's
operating system, storage capacity, and computer habits. Recovery of
residue of electronic files from a hard drive requires specialized
tools and a controlled laboratory environment.

e. Although some of the records called for by this
warrant might be found in the form of user-generated documents (such
as word processor, picture, and movie files), digital devices can

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contain other forms of electronic evidence as well. In particular,
records of how a digital device has been used, what it has been used
for, who has used it, and who has been responsible for creating or
maintaining records, documents, programs, applications and materials
contained on the digital devices are, as described further in the
attachments, called for by this warrant. Those records will not
always be found in digital data that is neatly segregable from the
hard drive image as a whole. Digital data on the hard drive not
currently associated with any file can provide evidence of a file
that was once on the hard drive but has since been deleted or edited,
or of a deleted portion of a file (such as a paragraph that has been
deleted from a word processing file). Virtual memory paging systems
can leave digital data on the hard drive that show what tasks and
processes on the computer were recently used. Web browsers, e-mail
programs, and chat programs store configuration data on the hard
drive that can reveal information such as online nicknames and
passwords. Operating systems can record additional data, such as the
attachment of peripherals, the attachment of USB flash storage
devices, and the times the computer was in use. Computer file systems
can record data about the dates files were created and the sequence
in which they were created. This data can be evidence of a crime,
indicate the identity of the user of the digital device, or point
toward the existence of evidence in other locations. Recovery of
this data requires specialized tools and a controlled laboratory
environment.

£. Further, evidence of how a digital device has been
used, what it has been used for, and who has used it, may be the
absence of particular data on a digital device. For example, to

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rebut a claim that the owner of a digital device was not responsible
for a particular use because the device was being controlled remotely
by malicious software, it may be necessary to show that malicious
software that allows someone else to control the digital device
remotely is not present on the digital device. Evidence of the
absence of particular data on a digital device is not segregable from
the digital device. Analysis of the digital device as a whole to
demonstrate the absence of particular data requires specialized tools
and a controlled laboratory environment.
g. The United States has not attempted to obtain this
data by other means.
CONCLUSION
73. Based upon the foregoing facts and my training and
experience, I believe there is probable cause to believe that JIA
RUNZE and SHI SHAN PIAO conspired to commit bank fraud and committed
aggravated identity theft in violation of Title 18, United States
Code, Sections 1349 and 1028A, and that evidence of the violations
listed in Attachment B will be found at the SUBJECT PREMISES.

SSH

Samuel Hans Joseph Newlin-Haus,
Special Agent

Federal Bureau of Investigation

   

Subscribed to and sworn before me
this [St day of June, 2017.

xtc a

UNITED Se iGreen JUDGE

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